Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 1 of 27




 EXHIBIT A
        Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 2 of 27




                        UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

Joseph Van Loon et al.,

                 Plaintiffs,

      v.                                  Civil Action No. 1:23-cv-00312-RP

Department of the Treasury et al.,

                 Defendants.


      BRIEF OF BLOCKCHAIN ASSOCIATION AND DEFI EDUCATION FUND
         AS AMICI CURIAE IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                     PARTIAL SUMMARY JUDGMENT
             Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 3 of 27




                                                   TABLE OF CONTENTS

                                                                                                                                     Page
TABLE OF AUTHORITIES ......................................................................................................... ii
INTEREST OF AMICI CURIAE ................................................................................................... 1
INTRODUCTION AND SUMMARY OF ARGUMENT ............................................................ 1
ARGUMENT ................................................................................................................................. 2
I.      TORNADO CASH IS AN IMPORTANT TOOL FOR PROTECTING THE PRIVACY
        OF DIGITAL ASSET USERS ...................................................................................................... 2

        A.      Financial Privacy Is Essential In The Digital Asset Sphere ........................................ 3
        B.      Tornado Cash Is An Autonomous Technological Tool to Preserve
                Financial Privacy ......................................................................................................... 6
II.     OFAC’S SANCTIONING OF TORNADO CASH IS UNLAWFUL ................................................... 8
        A.      OFAC’s Sanctions Exceed Its Authority ................................................................... 10
        B.      Any Statutory Doubt Must Be Resolved Against OFAC .......................................... 13
        C.      OFAC’s Sanctions Are Arbitrary and Ill-Conceived ................................................. 16
CONCLUSION ............................................................................................................................ 18




                                                                      i
            Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 4 of 27




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)
CASES
Al Haramain Islamic Found., Inc. v. U.S. Dep’t of Treasury,
   686 F.3d 965 (9th Cir. 2012) ...................................................................................................15
Am. Wild Horse Pres. Campaign v. Perdue,
   873 F.3d 914 (D.C. Cir. 2017) .................................................................................................17
Cerajeski v. Zoeller,
   735 F.3d 577 (7th Cir. 2013) ...................................................................................................11
Corrosion Proof Fittings v. EPA,
   947 F.2d 1201 (5th Cir. 1991) .................................................................................................16
FCC v. Fox Television Stations, Inc.,
  556 U.S. 502 (2009) .................................................................................................................17
Green v. Miss USA, LLC,
   52 F.4th 773 (9th Cir. 2022) ....................................................................................................14
Haze El Bey Express Tr. v. Hill,
   No. 20-cv-3516, 2021 WL 3829162 (S.D. Tex. Apr. 22, 2021) ..............................................11
Kasten v. Saint-Gobain Performance Plastics Corp.,
   563 U.S. 1 (2011) .....................................................................................................................15
Leocal v. Ashcroft,
   543 U.S. 1 (2004) .....................................................................................................................15
Lockhart v. United States,
   577 U.S. 347 (2016) .................................................................................................................15
Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
   463 U.S. 29 (1983) ...................................................................................................................17
Nielsen v. Preap,
   139 S. Ct. 954 (2019) ...............................................................................................................13
Perry Cap. LLC v. Lew,
   70 F. Supp. 3d 208 (D.D.C. 2014) ...........................................................................................16
Prytania Park Hotel, Ltd. v. Gen. Star Indem. Co.,
   179 F.3d 169 (5th Cir. 1999) ...................................................................................................11
Schneider v. Wis. UFCW Unions & Emps. Health Plan,
   985 F. Supp. 848 (E.D. Wis. 1997) ..........................................................................................17
Stewart v. Azar,
   366 F. Supp. 3d 125 (D.D.C. 2019) .........................................................................................16
United States v. Bass,
   404 U.S. 336 (1971) .................................................................................................................15


                                                                     ii
            Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 5 of 27




                                                 TABLE OF AUTHORITIES
                                                       (continued)
                                                                                                                                    Page(s)
United States v. Blagojevich,
   794 F.3d 729 (7th Cir. 2015) ...................................................................................................11
United States v. Reynolds,
   710 F.3d 498 (3d Cir. 2013).....................................................................................................16
Util. Air Regul. Grp. v. EPA,
    573 U.S. 302 (2014) .................................................................................................................13
Ward v. Rock Against Racism,
  491 U.S. 781 (1989) .................................................................................................................14
Zevallos v. Obama,
   793 F.3d 106 (D.C. Cir. 2015) .................................................................................................14
STATUTES
5 U.S.C. § 706 ............................................................................................................................2, 16
22 U.S.C. § 287c ......................................................................................................................10, 15
22 U.S.C. § 9214 ......................................................................................................................10, 15
50 U.S.C. § 1702 ............................................................................................................................10
50 U.S.C. § 1705 ........................................................................................................................9, 15
OTHER AUTHORITIES
Brooke Becher, U.S. Sanctions on Tornado Cash: What Does This Mean for Crypto?,
   Built In (Nov. 1, 2022)...............................................................................................................6
Black’s Law Dictionary (5th ed. 1979)..........................................................................................11
Brad Bourque, OFAC’s Tornado Sanctions and the Problem of Immutability,
   Fordham J. Corp. & Fin. L. (Oct. 30, 2022) ............................................................................17
Jerry Brito, Report: The Case for Electronic Cash, Coin Center (Feb. 2019) ................................3
31 C.F.R. § 510.305 .......................................................................................................................12
31 C.F.R. § 510.322 .......................................................................................................................12
31 C.F.R. § 510.323 .......................................................................................................................11
31 C.F.R. § 578.305 .......................................................................................................................12
31 C.F.R. § 578.313 .......................................................................................................................12
31 C.F.R. § 578.314 .......................................................................................................................11
31 C.F.R. § 589.201 .......................................................................................................................16
Cloey Callahan, Here’s How Some Employees Are Being Paid in
   Cryptocurrencies, WorkLife (Sept. 2, 2022) .............................................................................4



                                                                      iii
            Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 6 of 27




                                                TABLE OF AUTHORITIES
                                                      (continued)
                                                                                                                                 Page(s)
Scott Chipolina & James Politi, US Treasury Imposes Sanctions on ‘Crypto
   Mixer’ Over Alleged Laundering, Fin. Times (Aug. 8, 2022) .................................................14
Andrew R. Chow, A New U.S. Crackdown Has Crypto Users Worried About
   Their Privacy, TIME (Aug. 10, 2022) .......................................................................................5
Cryptocurrency Perception Study, Morning Consult (Feb. 24, 2023) .............................................2
Leigh Cuen, Sexual Assault Survivor Uses Crypto to Crowdfund Anonymously,
   CoinDesk (Sept. 13, 2021) .........................................................................................................6
Mat Di Salvo, Tornado Cash User ‘Dusts’ Hundreds of Public Wallets—Including
   Celebs Jimmy Fallon, Steve Aoki and Logan Paul, Decrypt (Aug. 9, 2022)...........................10
80 Fed. Reg. 18,077 (Apr. 2, 2015) .................................................................................................9
81 Fed. Reg. 14,943 (Mar. 18, 2016) ...............................................................................................9
82 Fed. Reg. 1 (Jan. 3, 2017) ...........................................................................................................9
87 Fed. Reg. 68,578 (Nov. 15, 2022)...........................................................................................8, 9
Owen Fernau, Tornado Cash Passes First Governance Proposal Since Sanctions
  (Dec. 17, 2022) ..........................................................................................................................8
Frequently Asked Questions #58, U.S. Dep’t of the Treasury (Sept. 10, 2002) ............................10
Frequently Asked Questions #1078, U.S. Dep’t of the Treasury ...................................................10
Frequently Asked Questions #1079, U.S. Dep’t of the Treasury ...............................................9, 15
Frequently Asked Questions #1095, U.S. Dep’t of the Treasury (Nov. 8, 2022) ..........................12
Tim Hakki, BitKeep Hacker Moves $1M in Binance Coin Through Tornado Cash,
   Decrypt (Oct. 18, 2022) ...........................................................................................................15
Zachary Halaschak, Canadian Crackdown on Truckers Highlights Privacy
   Benefits of Cryptocurrency, Wash. Examiner (Feb. 24, 2022) ..................................................5
George Kaloudis & Edward Oosterbaan, How Popular Are Crypto Mixers?
   Here’s What the Data Tells Us, CoinDesk (Nov. 7, 2022)........................................................1
Adam Ludwin, How Anonymous Is Bitcoin?, Coin Center (Jan. 22, 2015) ....................................4
Merriam-Webster.com ...................................................................................................................12
Oxford English Dictionary (2d ed. 1989) ......................................................................................11
Marcel Pechman, Total Crypto Market Cap Rises Above $1T—Data Suggests
   More Upside Is In Store, Cointelegraph (Jan. 27, 2023) .........................................................13
Rob Price, Kidnapped for Crypto: Criminals See Flashy Crypto Owners as Easy
   Targets, and It Has Led to a Disturbing String of Violent Robberies,
   Bus. Insider (Feb. 9, 2022) ........................................................................................................5



                                                                     iv
            Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 7 of 27




                                               TABLE OF AUTHORITIES
                                                     (continued)
                                                                                                                               Page(s)
David Shuttleworth, What Is a DAO and How Do They Work?,
   ConsenSys (Oct. 7, 2021) ..........................................................................................................8
Specially Designated Nationals and Blocked Persons List (SDN) Human
   Readable Lists, U.S. Dep’t of the Treasury ...............................................................................9
Aaron Terr, PayPal Is No Pal to Free Expression,
   Found. for Individual Rts. & Expression (Sept. 30, 2022) ........................................................3
Alex Thorn et al., OFAC Sanctions Tornado Cash: Issues & Implications,
   Galaxy (Aug. 10, 2022) .......................................................................................................9, 14
Today’s Cryptocurrency Prices by Market Cap, CoinMarketCap ..................................................1
Tornado Cash Alternatives, Elliptic (Oct. 11, 2022) .......................................................................6
Tornado Cash Analysis, Dune .........................................................................................................6
Tornado Cash Mixer Sanctioned After Laundering Over $1.5 Billion,
   Elliptic (Aug. 8, 2022) .............................................................................................................15
Tornado.cash Compliance, Tornado Cash (June 3, 2020)...............................................................8
Treasury Designates DPRK Weapons Representatives, U.S. Dep’t of the Treasury
   (Nov. 8, 2022) ................................................................................................................9, 16, 17
U.S. Treasury Issues First-Ever Sanctions on a Virtual Currency Mixer, Targets
   DPRK Cyber Threats, U.S. Dep’t of the Treasury (May 6, 2022) ............................................7
Peter Van Valkenburgh, Tornado Cash Is No “Golem.” It’s a Tool for Privacy
   and Free Speech, Coin Center (Oct. 26, 2022) ..........................................................................8
Alex Wade et al., How Does Tornado Cash Work?, Coin Center (Aug. 25, 2022) ................6, 7, 8
Webster’s New World Dictionary of the American Language (college ed. 1968) ........................11
Webster’s Third New International Dictionary (1961) ..................................................................11
What Is Cryptocurrency?, Coinbase ................................................................................................2
Miller Whitehouse-Levine & Lindsey Kelleher, Self-Hosted Wallets and the Future
   of Free Societies: A Guide for Policymakers, Blockchain Ass’n (Nov. 2020)..........................3




                                                                    v
           Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 8 of 27




                               INTEREST OF AMICI CURIAE

       Amici curiae, the Blockchain Association (the “Association”) and DeFi Education Fund

(“DEF”), are leading nonprofit organizations dedicated to improving the policy environment for

the digital asset economy and ensuring blockchain technology innovation can thrive. Amici work

to educate policymakers, regulators, courts, and the public about the nature and benefits of

blockchain technology and decentralized finance. The Association does so as a representative of

more than 100 member companies that reflect the diversity of the dynamic blockchain industry,

while DEF represents the interests of users, participants, and software developers in the sphere of

decentralized finance.

       The decision of the Office of Foreign Assets Control (“OFAC”) to sanction Tornado

Cash—privacy-protecting software used on the Ethereum blockchain—raises serious regulatory

and constitutional questions that have wide-ranging effects on the blockchain ecosystem and the

digital asset economy. Amici submit this brief to assist the court in understanding blockchain

technology and the serious problems with the sanctions at issue.

                   INTRODUCTION AND SUMMARY OF ARGUMENT

       OFAC’s decision to sanction Tornado Cash—an open-source software protocol with no

owner or operator—reflects a basic misunderstanding of what Tornado Cash is and how it works.

Until OFAC imposed sanctions, Tornado Cash was the most popular privacy-protecting tool on

Ethereum, the world’s second-largest digital asset platform.1 And it is just that—a tool. Far from

the centralized organization that OFAC alleges, Tornado Cash is merely self-executing computer

software published on the Ethereum blockchain. This software has no owner or operator, and it


       1
         See George Kaloudis & Edward Oosterbaan, How Popular Are Crypto Mixers? Here’s
What the Data Tells Us, CoinDesk (Nov. 7, 2022), https://bit.ly/3Xb0iok; Today’s Cryptocurrency
Prices by Market Cap, CoinMarketCap, https://bit.ly/3IFcoSs (last visited Apr. 11, 2023).
           Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 9 of 27




functions automatically without any human intervention or assistance. Like any tool—indeed, like

the internet itself—software like Tornado Cash can be misused for illicit purposes. But it is used

primarily for legitimate and socially valuable reasons. See Pl.’s Mot. for Partial. Summ. J. at 23.

       OFAC’s attempt to sanction the Tornado Cash computer code is both unprecedented and

unlawful. The Administrative Procedure Act forbids agency action undertaken “not in accordance

with law,” 5 U.S.C. § 706(2)(A), and OFAC’s sanctions both exceed its statutory authority and are

the product of arbitrary-and-capricious decision-making, see id. § 706(2)(A), (C). This Court

should grant partial summary judgment to the Plaintiffs.

                                          ARGUMENT

I.     TORNADO CASH IS AN IMPORTANT TOOL FOR PROTECTING THE PRIVACY OF DIGITAL
       ASSET USERS.

       Americans are using digital assets more than ever. A recent study found that 20 percent of

American adults own digital assets, and 29 percent plan to buy or trade digital assets in the next

year.2 And it is not hard to see why: digital asset networks utilize blockchain technology, which

provides a decentralized, internet-based alternative to traditional finance, thus freeing users from

a multitude of third-party middlemen, like banks and payment processors, or even from a particular

country’s currency.3 This freedom is not only more efficient and less expensive than traditional

systems, but it also allows users to regain the power and ownership taken away from them by




       2
           Cryptocurrency    Perception     Study,    Morning     Consult    (Feb.    24,    2023),
https://bit.ly/3FUayeO.
       3
          See generally What Is Cryptocurrency?, Coinbase, https://bit.ly/3lSamp7 (last visited
Apr. 11, 2023).



                                                 2
        Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 10 of 27




intermediaries.4 In doing so, it creates a valuable alternative for the millions of Americans who

are “unbanked” or “underbanked” because of the world’s historically discriminatory and

increasingly powerful traditional financial institutions.5

       Two additional points are critical here. First, as detailed below, people conduct digital

asset transactions through a “blockchain,” which is an interconnected network of computers that

automatically records every single transaction on a public ledger, viewable by anyone on the

internet, in contrast to the private ledgers used by traditional banks. This new system creates a

particular need for privacy protections to avoid sharing all of one’s financial dealings with

everyone else. Second, before OFAC’s sanctions interfered, Tornado Cash served as the go-to tool

for law-abiding users of Ethereum to fill this critical need.

       A.      Financial Privacy Is Essential In The Digital Asset Sphere.

       A blockchain functions like a bank’s ledger: it records and tracks every transaction on a

given platform. Am. Compl. ¶ 41. But unlike a bank’s ledger—which is private, modifiable, and

subject to the bank’s control—blockchains like Ethereum are public, permanent, and maintained

through a decentralized network of independent computers. When a transaction occurs, this

network validates it and then adds it to the “chain,” where every transaction that has ever occurred

in the history of that blockchain is publicly viewable and cannot ever be changed or removed. Id.

¶¶ 41, 43.




       4
           See, e.g., Jerry Brito, Report: The Case for Electronic Cash, Coin Center (Feb. 2019),
https://bit.ly/3Z2ybcj; Aaron Terr, PayPal Is No Pal to Free Expression, Found. for Individual
Rts. & Expression (Sept. 30, 2022), https://bit.ly/3Z0pKOw.
       5
         Miller Whitehouse-Levine & Lindsey Kelleher, Self-Hosted Wallets and the Future of
Free Societies: A Guide for Policymakers, Blockchain Ass’n (Nov. 2020), https://bit.ly/3XQDqut.



                                                  3
        Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 11 of 27




       One consequence of this technology is that every user’s interactions on the blockchain

network—including any financial transactions—are public to all other users. Although the “chain”

does not list anyone’s name, it executes transactions via “public keys” (as opposed to password-

like “private keys”) that are generally under the control of specific persons. See id. ¶ 42. Like an

email account used to send, receive, or store messages—or a physical address in the analog

world—the public key is the address that people use to send, receive, or store digital assets. Id.

But unlike these comparators, the blockchain is fully public, so all users can see the core

components of every transaction that has ever occurred—the sender’s public key, the receiver’s

public key, and the amount, type of asset, and time transmitted. And because users use the same

public key to engage in many—if not all—of their transactions, any time a user engages in a

deanonymized transaction—such as an employee paid partially through digital assets6—the user

is deanonymizing his entire past and future transaction history to his counterparty, not to mention

anyone else who may know the identity behind the user’s public key. Moreover, users can

sometimes be involuntarily deanonymized, as complete strangers might be able to deduce their

real-world identities based on their transaction patterns or other public information.7

       To avoid broadcasting their finances to the world, many digital asset holders have turned

to privacy-protecting tools like Tornado Cash. Such tools allow users to reclaim privacy that

would be available as a matter of course in other contexts, while retaining the benefits that come

with using blockchain technology. It would, for example, be unthinkable if every store could view



       6
        Cloey Callahan, Here’s How Some Employees Are Being Paid in Cryptocurrencies,
WorkLife (Sept. 2, 2022), https://bit.ly/4040SXg.
       7
           Adam Ludwin, How Anonymous Is Bitcoin?, Coin Center (Jan. 22, 2015),
https://bit.ly/3Slll6Y. For this reason, blockchain is sometimes referred to as not anonymous but
pseudonymous.


                                                 4
        Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 12 of 27




every purchase that its customers ever made based on a single payment, or if random bystanders

could view the transactions on every consumer’s credit-card statements. There are innumerable

understandable reasons why law-abiding people would not want their friends and neighbors to

know the full details of every purchase they make, every cause they financially support, and indeed

every transaction of any sort they undertake. There is nothing odd or nefarious about wanting to

keep basic personal details private.

       In addition to protecting privacy in general, tools like Tornado Cash allow users to protect

themselves from bad actors. Particularly when a user’s transaction history indicates wealth, the

user risks being targeted by hackers, thieves, and other wrongdoers.8 And when the blockchain

contains enough information for a user’s identity to be unmasked, these attacks can spill into the

physical world, where digital asset users have been the victims of crimes ranging “from simple

robberies to home invasions, kidnappings, torture, and even murder.”9

       Moreover, the need for privacy is heightened for certain, particularly sensitive transactions.

For example, digital asset users often prioritize anonymity when supporting politically charged

causes, for fear of reprisal or government sanction.10 Indeed, online harassers targeted one of the

plaintiffs in this case after he made digital asset donations to support Ukrainian relief efforts. Am.

Compl. ¶¶ 21–22. Likewise, privacy can be paramount when users engage in deeply personal

transactions, such as a patient paying for medical procedures or a survivor of sexual assault


       8
         Andrew R. Chow, A New U.S. Crackdown Has Crypto Users Worried About Their
Privacy, TIME (Aug. 10, 2022), https://bit.ly/3kcSwNo.
       9
           Rob Price, Kidnapped for Crypto: Criminals See Flashy Crypto Owners as Easy Targets,
and It Has Led to a Disturbing String of Violent Robberies, Bus. Insider (Feb. 9, 2022),
https://bit.ly/3xAtavI.
       10
         Zachary Halaschak, Canadian Crackdown on Truckers Highlights Privacy Benefits of
Cryptocurrency, Wash. Examiner (Feb. 24, 2022), https://bit.ly/42tU1rw.



                                                  5
        Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 13 of 27




crowdfunding expenses for her recovery.11 Without privacy, users may feel forced to forgo

transactions like these. E.g., id. ¶ 23.

        B.      Tornado Cash Is An Autonomous Technological Tool to Preserve Financial
                Privacy.

        Before OFAC’s sanctions, Tornado Cash enabled Americans to protect their privacy while

using Ethereum. And many availed themselves of it: as the most popular privacy tool on Ethereum,

Tornado Cash has attracted more than 12,000 unique users, who have executed more than $7.9

billion in transactions.12 The vast majority of such privacy-protecting transactions—more than 75

percent of transacted funds, according to OFAC’s analysis of Tornado Cash and similar tools—

has been licit. See Pl.’s Mot. at 23.

        Tornado Cash is composed of strings of open-source code that independent developers

have published to Ethereum. Am. Compl. ¶ 47. It operates autonomously via “smart contracts”

that are programmed to self-execute certain actions when prompted by Ethereum users. See id.

¶¶ 48–49; Pl’s Mot. at 5. Each smart contract is assigned a public address, similar to a user’s

public key, with which any user can interact. Pl.’s Mot. at 4–5. The core Tornado Cash smart

contracts are known as “pools,” which are simply code protocols through which users can route

digital asset deposits and withdrawals.13 The pools are programmed to automatically generate,




        11
          Brooke Becher, U.S. Sanctions on Tornado Cash: What Does This Mean for Crypto?,
Built In (Nov. 1, 2022), https://bit.ly/3KmqDNB; Leigh Cuen, Sexual Assault Survivor Uses
Crypto to Crowdfund Anonymously, CoinDesk (Sept. 13, 2021), https://bit.ly/3IhWmfV.
        12
          Tornado Cash Analysis, Dune, https://bit.ly/3kjYg7T (last visited Apr. 11, 2023); cf.
Tornado Cash Alternatives, Elliptic (Oct. 11, 2022), https://bit.ly/3U2FuzD (comparing Tornado
Cash with its much-smaller competitors).
        13
            Alex Wade et al., How Does Tornado Cash Work?, Coin Center (Aug. 25, 2022),
https://bit.ly/3Z0Qnnf.



                                               6
        Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 14 of 27




upon a deposit, a randomized key through which the depositing user can later withdraw funds.14

Further, the pools are non-custodial, which means that users can only withdraw the specific funds

that they submit and retain full control of their funds between deposit and withdrawal.15 In other

words, thanks to the unique power of blockchain technology, no person other than the user to

whom the assets belong has control over those assets. Tornado Cash thus supplies a secure

mechanism for users to protect their anonymity by severing the public connection linking all their

Ethereum deposits and withdrawals.

       Another key feature of the Tornado Cash pools is that they have been programmed to be

autonomous and immutable. This means nobody owns them, controls them, or has the ability to

alter or terminate them. Although the pools originally were programmed to allow a designated

“operator” to update their coding, a 2020 update revoked this functionality for all active pools.16

       These features distinguish the Tornado Cash software—which is non-custodial and fully

autonomous—from privacy services owned or operated by persons or entities.17 These latter

services (unlike autonomous software) facilitate privacy by taking control of users’ funds to shuffle




       14
            Id.
       15
            Id.
       16
            Id.
       17
          For an example of an owned-and-operated privacy service, see the Blender.io currency
mixer, which OFAC separately sanctioned earlier in 2022. U.S. Treasury Issues First-Ever
Sanctions on a Virtual Currency Mixer, Targets DPRK Cyber Threats, U.S. Dep’t of the Treasury
(May 6, 2022), https://bit.ly/3FHi9xd.



                                                 7
        Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 15 of 27




them with other users’ funds.18 And in contrast to Tornado Cash, such users do not maintain

custody of their funds.19

       The only non-autonomous features of Tornado Cash are entirely distinct from the core

software that OFAC’s sanctions target.20 For instance, the DAO—or decentralized autonomous

organization—relied upon by OFAC conducts “non-essential activities to support continued

development” related to Tornado Cash.21 The DAO consists of anyone who holds “TORN”

governance tokens—in other words, anyone who wants to be involved, for whatever duration they

choose.22 It facilitates the creation of secondary Tornado Cash-related features (such as a front-

end interface to make the pools easier to access) and compliance tools to aid law enforcement.23

But contra OFAC, the DAO has nothing to do with the pools themselves. And the pools

themselves would exist even if the DAO did not. The Tornado Cash software functions regardless

of the DAO.

II.    OFAC’S SANCTIONING OF TORNADO CASH IS UNLAWFUL.

       OFAC’s sanctions threaten to upend all this. With no forewarning, OFAC invoked its

authority under Executive Orders 13,722 and 13,694, as amended, to sanction Tornado Cash. 87



       18
            Wade et al., supra note 13.
       19
            Id.
       20
            See generally id. (explaining the various Tornado Cash-related addresses).
       21
          Peter Van Valkenburgh, Tornado Cash Is No “Golem.” It’s a Tool for Privacy and
Free Speech, Coin Center (Oct. 26, 2022), https://bit.ly/3KrYQLL; see also David Shuttleworth,
What Is a DAO and How Do They Work?, ConsenSys (Oct. 7, 2021), https://bit.ly/3yYbpHB.
       22
            Wade et al., supra note 13.
       23
            Owen Fernau, Tornado Cash Passes First Governance Proposal Since Sanctions (Dec.
17, 2022), https://bit.ly/3kexf5K; Tornado.cash Compliance, Tornado Cash (June 3, 2020),
https://bit.ly/3xENcpc.


                                                 8
        Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 16 of 27




Fed. Reg. 68,578, 68,579–80 (Nov. 15, 2022). Those Orders empower OFAC to sanction

“persons” who have provided support to, respectively, the North Korean government or certain

malicious cyber activities. 80 Fed. Reg. 18,077 (Apr. 2, 2015), amended by 82 Fed. Reg. 1 (Jan.

3, 2017); 81 Fed. Reg. 14,943 (Mar. 18, 2016). OFAC claimed it could lawfully sanction the

Tornado Cash software protocol because the software had been used by money launderers

affiliated with the North Korean government.24 OFAC thus added the Tornado Cash smart

contracts (i.e., code) to a list of “individuals, groups, and entities” whose “assets are blocked and

[whom] U.S. persons are generally prohibited from dealing with.”25 This is the first time OFAC

has ever attempted to sanction computer software, rather than focus on the bad actors that misuse

it.26

        OFAC’s sanctions forbid Americans from interacting with the various Ethereum addresses

that make up the Tornado Cash software, 87 Fed. Reg. at 68,578–79, under threat of six-figure

civil fines and, for willful violations, up to 20 years’ imprisonment, 50 U.S.C. § 1705(b)–(c). The

sanctions have stranded countless Americans who were holding funds in the Tornado Cash pools:

these law-abiding citizens are no longer permitted to access their assets unless they obtain a

discretionary special license from OFAC,27 which is available only on a “case-by-case basis” with




        24
           Treasury Designates DPRK Weapons Representatives, U.S. Dep’t of the Treasury (Nov.
8, 2022), https://bit.ly/3ElWEkS.
        25
           Specially Designated Nationals and Blocked Persons List (SDN) Human Readable
Lists, U.S. Dep’t of the Treasury, https://bit.ly/3Z4MJYR (last updated Apr. 11, 2023).
        26
          Alex Thorn et al., OFAC Sanctions Tornado Cash: Issues & Implications, Galaxy (Aug.
10, 2022), https://bit.ly/3IhYe8r.
        27
           Frequently Asked Questions #1079, U.S. Dep’t of the Treasury, https://bit.ly/3KdJpFd
(last updated Nov. 8, 2022).



                                                 9
        Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 17 of 27




no estimate as to “how long this review might take.”28 And Americans may violate the sanctions

through no fault of their own: because blockchain technology allows peer-to-peer transfers from

one wallet directly to another without requiring the recipient to consent to the transfer, Ethereum

users can become liable—subject only to OFAC’s prosecutorial discretion—whenever someone

transfers them digital assets via Tornado Cash.29 In that situation, the person is trapped through

no fault of their own—they have no ability to reject the funds and would commit an additional

sanctions violation if they remitted the funds.

       OFAC’s sanctions are unlawful. OFAC lacks statutory authority to sanction software like

Tornado Cash, and regardless, its decision lacks any factual predicate that could render the

sanctions lawful. This Court should vacate the sanctions.

       A.      OFAC’s Sanctions Exceed Its Authority.

       OFAC’s sanctioning authority is circumscribed by Executive Orders 13,722 and 13,694

and the statutes those orders invoke. The orders authorize OFAC to designate “persons” for

sanctioning pursuant to three statutes. The International Emergency Economic Powers Act, which

both orders invoke, empowers the Executive to deal with national emergencies by blocking

“transactions involving[] any property in which any foreign country or a national thereof has any

interest.” 50 U.S.C. § 1702(a)(1). The North Korea-focused order invokes two further statutes,

the United Nations Participation Act and the North Korea Sanctions and Policy Enhancement Act,

as supplemental authority for blocking “person[s]” and “property.” 22 U.S.C. §§ 287c(a), 9214.


       28
            Frequently Asked Questions #58, U.S. Dep’t of the Treasury (Sept. 10, 2002),
https://bit.ly/3MjYtnp.
       29
           Frequently Asked Questions #1078, U.S. Dep’t of the Treasury, https://bit.ly/3nMvjD2
(last updated Nov. 8, 2022); see, e.g., Mat Di Salvo, Tornado Cash User ‘Dusts’ Hundreds of
Public Wallets—Including Celebs Jimmy Fallon, Steve Aoki and Logan Paul, Decrypt (Aug. 9,
2022), https://bit.ly/3Ij9m5d.



                                                  10
        Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 18 of 27




But the autonomous Tornado Cash software is not “property”—much less the “property” of the

nonexistent Tornado Cash “person.” There is thus no statutory basis for OFAC’s sanctions.

       1. Foremost, the autonomous Tornado Cash software is not “property.” To be property,

an item must be a thing that is owned. Courts30 and dictionaries31 have both recognized this

capacity as a defining characteristic of property. OFAC’s own regulations confirm the point: all

the examples of “property” it enumerates as illustrative are items belonging to individuals or

entities and any “other property” must be construed to share this critical feature. 31 C.F.R.

§§ 510.323, 578.314; see Prytania Park Hotel, Ltd. v. Gen. Star Indem. Co., 179 F.3d 169, 179

(5th Cir. 1999) (applying the ejusdem generis canon to an illustrative list).

       Here, the autonomous Tornado Cash software is not and cannot be owned by anyone, much

less by the Tornado Cash “person” conjured by OFAC. With the 2020 update making the code for

the pools permanent and unalterable, no one can exercise any “dominion” or other essential indicia

of ownership over them.32 No one person or group has the right to possess the software, or the

ability to transfer the ownership to any other person or group. The Tornado Cash software protocol

is simply a feature affixed to the Ethereum ecosystem, much as immutable features in the real-

world ecosystem—like sun or wind—can be harnessed but not owned. And to the extent that

individuals associated with Tornado Cash might have had a property interest in the pools at some

earlier point, those individuals permanently abandoned it with the 2020 update. Cf. Cerajeski v.


       30
          E.g., United States v. Blagojevich, 794 F.3d 729, 736 (7th Cir. 2015); Haze El Bey
Express Tr. v. Hill, No. 20-cv-3516, 2021 WL 3829162, at *3 (S.D. Tex. Apr. 22, 2021).
       31
           E.g., Property, Oxford English Dictionary (2d ed. 1989); Property, Webster’s New
World Dictionary of the American Language (college ed. 1968); Property, Webster’s Third New
International Dictionary (1961).
       32
            See Property, Black’s Law Dictionary (5th ed. 1979) (defining “property” as including
the rights to possess, use, exclude, and transfer).



                                                 11
        Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 19 of 27




Zoeller, 735 F.3d 577, 581 (7th Cir. 2013) (“‘Abandonment’ in property law … means that the

owner gives up all claims to the property, thus pitching it back into the public domain, where it is

available for reappropriation.”). The Tornado Cash software thus exists entirely independent of

any person or group, and so OFAC cannot sanction it as anyone’s “property.”

       2. Nor is Tornado Cash a “person” under any reasonable understanding of the term.

OFAC’s regulations define a legal person as “an individual or entity.” 31 C.F.R. §§ 510.322,

578.313. Tornado Cash—software—is neither.

       OFAC’s assertion that it has sanctioned a Tornado Cash “entity” that purportedly owns the

autonomous software likewise does not withstand scrutiny—not only because nobody “owns” that

software as detailed above, but also because there is no Tornado Cash “entity” regardless. An

entity is “a partnership, association, trust, joint venture, corporation, group, subgroup, or other

organization.” Id. §§ 510.305, 578.305. In other words, it is a body with a “separate and distinct

existence,” an “organization … that has an identity separate from those of its members.”33 But the

“entity” that OFAC proffers is a supposed “Tornado Cash organization” composed of the software

developers who coded the smart contracts and the Tornado Cash DAO which, as explained above,

has no ability to affect the code in any way.34 That is not a group with the requisite “separate and

distinct existence.”

       Outside of OFAC’s own lumping, there is no indication that these discrete actors share any

sort of “organizational structure.”35 For example, there is no contemporaneous evidence proving


       33
            Entity, Merriam-Webster.com, https://bit.ly/3XLLxst (last visited Apr. 11, 2023).
       34
            Frequently Asked Questions #1095, U.S. Dep’t of the Treasury (Nov. 8, 2022),
https://bit.ly/3zSNV7n. OFAC defines the developers to include both the Tornado Cash
“founders” and others who have aided in the development of Tornado Cash. Id.
       35
            Id.



                                                12
        Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 20 of 27




the existence of such an organization; pointing to any kind of contractual relationship between the

developers and DAO; or suggesting that the public perceived them as intertwined. An organization

cannot exist merely on OFAC’s say-so. Thus, even if identifying an entity associated with Tornado

Cash sufficed under the statute—which it does not—OFAC has not done even that.

        B.      Any Statutory Doubt Must Be Resolved Against OFAC.

        OFAC clearly exceeded its authority for the reasons discussed above, but the Plaintiffs

need not prove that much to prevail. Under fundamental principles of statutory interpretation, the

Court should resolve any ambiguity against OFAC.

        1. To start, the major-questions doctrine establishes that OFAC’s powers here should be

narrowly construed. That doctrine requires an agency to identify a clear congressional statement

before it can “bring about an enormous and transformative expansion in [its] regulatory authority.”

Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014). This case would effect such an expansion

because OFAC’s sanctions depend on re-interpreting the core terms in OFAC’s authorizing

statutes—“persons” and “property”—to go far beyond any traditional or recognizable definition

of those terms to give OFAC near-boundless authority. Although this arrogation most immediately

affects digital assets—alone a trillion-dollar industry36—OFAC’s claim of sweeping authority is

equally applicable to any or all other industries. Absent clear congressional authorization, this

power-grab must fail.

        2. OFAC’s powers likewise should be narrowly construed as a matter of constitutional

avoidance. Courts must interpret ambiguous statutory language in a way that avoids “serious

doubt[s]” about a statute’s constitutionality if it is “fairly possible” to do so. Nielsen v. Preap, 139



        36
          Marcel Pechman, Total Crypto Market Cap Rises Above $1T—Data Suggests More
Upside Is In Store, Cointelegraph (Jan. 27, 2023), https://bit.ly/3Z2iuBS.



                                                  13
        Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 21 of 27




S. Ct. 954, 971 (2019) (quotation marks omitted). And the Tornado Cash sanctions raise at least

two serious constitutional conflicts.

       First, the sanctions cannot withstand First Amendment scrutiny.             Because they

indiscriminately target both bad actors and law-abiding Tornado Cash users, the sanctions “burden

substantially more” speech and association “than is necessary to further the government’s …

interests.” Ward v. Rock Against Racism, 491 U.S. 781, 799 (1989); cf. Green v. Miss USA, LLC,

52 F.4th 773, 800 n.25 (9th Cir. 2022). Here, the government could have directly sanctioned the

North Korea groups that misuse Tornado Cash, just as it has sanctioned malign digital asset users

on other occasions.37 Instead, it has attempted to categorically sanction a software those groups

misuse. In the process—and apparently, intentionally38—OFAC has cut ordinary Americans off

from a means of engaging in anonymous financial speech and associations. That overbroad choice

unconstitutionally chills First Amendment rights.

       Second, OFAC’s sanctions cannot be squared with the Due Process Clause of the Fifth

Amendment, which bars the deprivation of property without due process of law. The amount of

process required depends on a balancing of interests, but the government generally must provide

individuals “notice and an opportunity to be heard before depriving them of their property.”

Zevallos v. Obama, 793 F.3d 106, 116 (D.C. Cir. 2015). Here, OFAC provided zero pre-




       37
            Thorn et al., supra note 26.
       38
           See Scott Chipolina & James Politi, US Treasury Imposes Sanctions on ‘Crypto Mixer’
Over Alleged Laundering, Fin. Times (Aug. 8, 2022), https://bit.ly/3XJqGG7 (quoting a “senior
Treasury official” as saying that the sanctions were to “‘send a really critical message’” against
services like Tornado Cash and “‘designed to inhibit Tornado Cash or any sort of reconstituted
versions of it’”).



                                               14
        Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 22 of 27




deprivation notice before sanctioning Tornado Cash and instead blocked all American Tornado

Cash users from accessing their funds.39

       There was no cause for that denial of notice. Although courts often uphold sanctions

imposed without pre-deprivation notice based on a fear of asset flight, see Al Haramain Islamic

Found., Inc. v. U.S. Dep’t of Treasury, 686 F.3d 965, 985 (9th Cir. 2012), that rationale has no

force here. Because the Tornado Cash pools are immutable and the Tornado Cash software does

not maintain custody or control over the assets held in the pools, these assets cannot be frozen the

way money in a bank can be. And because the pools remain available for all to use, the targeted

North Korean wrongdoers are not actually blocked from retrieving their assets.40 Only law-

abiding American users are thwarted by their respect for the law.

       3. The rule of lenity further confirms that a narrower interpretation is necessary. This rule

ensures that “legislatures and not courts … define criminal activity,” United States v. Bass, 404

U.S. 336, 348 (1971), by requiring that ambiguous provisions be construed in favor of criminal

defendants, Lockhart v. United States, 577 U.S. 347, 361 (2016). The rule applies to any “statute

with criminal sanctions,” even in cases that arise in a “noncriminal context,” Kasten v. Saint-

Gobain Performance Plastics Corp., 563 U.S. 1, 16 (2011), because any statute must be

“interpret[ed] … consistently” across cases, Leocal v. Ashcroft, 543 U.S. 1, 11 n.8 (2004).

Accordingly, because OFAC’s authorizing statutes criminally proscribe the “willful[]” violation

of sanctions, see 22 U.S.C. §§ 287c(b), 9214(f); 50 U.S.C. § 1705(c), any ambiguity about the

scope of what is sanctionable must be narrowly construed.


       39
            Frequently Asked Questions #1079, supra note 27.
       40
          See Tim Hakki, BitKeep Hacker Moves $1M in Binance Coin Through Tornado Cash,
Decrypt (Oct. 18, 2022), https://bit.ly/3xIALIF; Tornado Cash Mixer Sanctioned After Laundering
Over $1.5 Billion, Elliptic (Aug. 8, 2022), https://bit.ly/3FTdNDa.


                                                15
        Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 23 of 27




       C.       OFAC’s Sanctions Are Arbitrary and Ill-Conceived.

       Finally, OFAC’s sanctions are “not in accordance with law” for yet another reason: the

sanctions are arbitrary and capricious. Am. Compl. ¶ 86 (quoting 5 U.S.C. § 706(2)(A)). Although

the Plaintiffs have focused on the sanctions’ manifold other problems, this Court may also consider

the arbitrariness of the sanctions. See Corrosion Proof Fittings v. EPA, 947 F.2d 1201, 1208 (5th

Cir. 1991); cf. Perry Cap. LLC v. Lew, 70 F. Supp. 3d 208, 225–26 (D.D.C. 2014) (describing

plaintiffs’ statutory arguments as “merely extensions” of their arbitrary-and-capricious

arguments), rev’d in part on other grounds, 864 F.3d 591 (D.C. Cir. 2017). OFAC’s Tornado

Cash sanctions are arbitrary for at least two reasons.

       1. The sanctions “lack[] a limiting principle.” United States v. Reynolds, 710 F.3d 498,

510 (3d Cir. 2013); cf. Stewart v. Azar, 366 F. Supp. 3d 125, 154 (D.D.C. 2019). OFAC assertedly

designated Tornado Cash because it has been “used by” North Korean actors for nefarious

purposes.41 But on this view, anything that a malign foreign actor happens to misappropriate risks

being sanctioned. After all, any tool can be misappropriated—even if its primary uses are entirely

innocuous, as here. OFAC’s logic thus has no discernible endpoint.

       OFAC’s theory would suggest, for example, that a social-media website could be

sanctioned merely because foreign trolls have used it to facilitate unlawful activities. By the logic

of the Tornado Cash sanctions, OFAC could find that such a website—which would be foreign

insofar as it is partially owned by foreign shareholders—has “materially assisted” in “[a]ctions …

that undermine democratic processes or institutions in Ukraine,” or in some other trigger for

sanctions, because trolls have misused the site for that purpose. 31 C.F.R. § 589.201(a)(1)(i), (iv).

OFAC’s logic likewise suggests that it could sanction an open-source encryption protocol—


       41
            Treasury Designates DPRK Weapons Representatives, supra note 24.



                                                 16
        Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 24 of 27




website coding that allows Americans to securely use their credit cards or other personal

information online—merely because the protocol was developed by a foreigner and misused by a

malign actor, no matter the proportion of uses that are entirely benign. Such possibilities are

absurd, and a justification that “would create patently absurd results” is necessarily arbitrary and

capricious. Schneider v. Wis. UFCW Unions & Emps. Health Plan, 985 F. Supp. 848, 851 (E.D.

Wis. 1997).

       2. Further, OFAC has violated a “central principle of administrative law” by departing

from longstanding practice without explanation. Am. Wild Horse Pres. Campaign v. Perdue, 873

F.3d 914, 923 (D.C. Cir. 2017). Indeed, OFAC has not even shown “awareness that it is changing

position.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009). Specifically, OFAC’s

long-held position—repeated even in the announcement of the Tornado Cash sanctions—is that

“[t]he ultimate goal of sanctions is … to bring about a positive change in behavior.”42 But any

hypothetical Tornado Cash entity cannot “bring about a positive change in behavior” vis-à-vis the

Tornado Cash software, because—again—that software and the pools it autonomously operates

are immutable and not controlled by any hypothetical entity.43 There is simply no mechanism for

any Tornado Cash developer or DAO member to change or shutter it. To the extent OFAC ignored

this reality, it acted arbitrarily by failing to provide a “reasoned explanation” for its newly

expanded view of how sanctions should be employed. Id. And to the extent OFAC was unaware

of this reality, it arbitrarily “failed to consider an important aspect of the problem.” Motor Vehicle




       42
            Id.
       43
          Brad Bourque, OFAC’s Tornado Sanctions and the Problem of Immutability, Fordham
J. Corp. & Fin. L. (Oct. 30, 2022), https://bit.ly/3yViJns.



                                                 17
        Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 25 of 27




Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). Either way,

its sanctions fail for that reason too.

                                          CONCLUSION

        OFAC’s sanctions cannot be squared with a proper understanding of the autonomous

Tornado Cash software, OFAC’s governing statutes, or OFAC’s obligations under the APA. If

allowed to stand, this overreach will have sweeping consequences—weakening the digital asset

industry, jeopardizing law-abiding Americans’ financial privacy, and effecting a vast expansion

of OFAC’s power. This Court should thus declare the sanctions unlawful and enjoin their

enforcement.




                                              18
       Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 26 of 27




Dated: April 12, 2023               Respectfully submitted,

                                    /s/ Jonathan Guynn
                                    Jonathan Guynn
                                    Texas Bar No. 24120232
                                    JONES DAY
                                    2727 North Harwood Street
                                    Dallas, TX 75201
                                    Phone: (214) 220-3939
                                    Fax: (214) 969-5100
                                    jguynn@jonesday.com

                                    James M. Burnham
                                    D.C. Bar No. 1015196
                                    Alexis Zhang
                                    D.C. Bar No. 90008032
                                    JONES DAY
                                    51 Louisiana Avenue, N.W.
                                    Washington, DC 20001
                                    Phone: (202) 879-3939
                                    Fax: (202) 626-1700
                                    jburnham@jonesday.com
                                    alexiszhang@jonesday.com

                                    Eric Tung
                                    California Bar No. 275063
                                    JONES DAY
                                    555 South Flower Street, 50th Floor
                                    Los Angeles, CA 90071
                                    Phone: (213) 489-3939
                                    Fax: (213) 243-2539
                                    etung@jonesday.com

                                    Counsel for Amici Curiae




                                      19
        Case 1:23-cv-00312-RP Document 43-1 Filed 04/12/23 Page 27 of 27




                                CERTIFICATE OF SERVICE

       I hereby certify that on April 12, 2023, the foregoing document was filed through the

Court’s ECF system and a copy will be served on all parties according to the Federal Rules of Civil

Procedure.

                                             /s/ Jonathan Guynn
                                             Jonathan Guynn
